Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 1 of 18




                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                                MIAMI DIVISION

                                              CASE NO.: 1:25-cv-21003

      L.M.,
               Plaintiff,
               v.
      THE INDIVIDUALS, PARTNERSHIPS,
      AND UNINCORPORATED
      ASSOCIATIONS IDENTIFIED ON
      SCHEDULE "A",
               Defendants.


                            COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

              Plaintiff, L.M.1, by and through her undersigned counsel, brings this Complaint against

  Defendants, The Individuals, Partnerships, and Unincorporated Associations Identified on

  Schedule “A” hereto2 (collectively “Defendants”), who are promoting, selling, offering for sale

  and distributing goods bearing or using unauthorized reproductions or derivatives of Plaintiff’s

  Copyrighted Work within this district through various Internet based e-commerce stores using

  the seller identities as set forth on Schedule “A” hereto (the “Seller IDs”), and in support of her

  claims, alleges as follows:



  1
    Since it is unknown when Plaintiff’s forthcoming Ex Parte Motion for Entry of Temporary Restraining Order,
  including a Temporary Injunction, an Order Restraining Transfer of Assets, a Temporary Asset Restraint, Expedited
  Discovery, and Service of Process by Email will be ruled on, Plaintiff’s name has been removed to prevent
  Defendants from getting advanced notice. Copyright piracy and infringement lawsuits like this one are closely
  monitored by Chinese defendants on websites like www.sellerdefense.cn, social media (QQ, WeChat, etc.), and
  elsewhere on the internet. The www.sellerdefense.cn website and others warn infringers specifically of product
  types, brands, law firms filing cases, and other information necessary for defendants, like those named in this case,
  to evade Plaintiff’s anti-pirating and anti-counterfeiting efforts and hide their ill-gotten gains. Plaintiff will file under
  seal an Unredacted Complaint which identifies Plaintiff and provides additional information and allegations once the
  record is unsealed
  2
    Schedule “A” to this Complaint will be filed under seal after this Honorable Court rules on Plaintiff’s forthcoming
  Motion for Leave to File Certain Documents Under Seal and to Temporarily Proceed Under a Pseudonym


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Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 2 of 18




                                          SUMMARY OF THE ACTION

          1.      Plaintiff brings this action for willful copyright infringement and piracy

  committed for purposes of commercial advantage or private financial gain by the reproduction or

  distribution, including by electronic means, of one or more copies of Copyrighted Work in

  violation of 17 U.S.C. §501, and for all the remedies available under the Copyright Act 17

  U.S.C. § 101, et seq., and The All Writs Act, 28 U.S.C. § 1651(a).

                                    SUBJECT MATTER JURISDICTION

          2.      This Court has original subject matter jurisdiction over this action pursuant to 28

  U.S.C. §§ 1331 and 1338.

          3.      This Court also has subject matter jurisdiction over this action pursuant to 17

  U.S.C. § 301.

                                          PERSONAL JURISDICTION

          4.      Defendants are subject to personal jurisdiction in this district because they

  purposefully direct their activities toward and conduct business with consumers throughout the

  United States, including within the state of Florida and this district, through at least the internet-

  based e-commerce stores accessible in Florida and operating under their Seller ID’s.

          5.      Defendants are subject to personal jurisdiction in this district because their illegal

  activities directed towards the state of Florida cause Plaintiff injury in Florida, and Plaintiff's

  claims arise out of those activities.

          6.      Alternatively, Defendants are subject to personal jurisdiction in this district

  pursuant to Federal Rule of Civil Procedure 4(k)(2) because (i) Defendants are not subject to

  jurisdiction in any state’s court of general jurisdiction; and (ii) exercising jurisdiction is

  consistent with the United States Constitution and laws.


                                                    2
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Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 3 of 18




                                                     VENUE

          7.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(3) because

  Defendants are not residents in the United States and therefore there is no district in which an

  action may otherwise be brought. Defendants are thus subject to the Court’s personal

  jurisdiction.

          8.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

  upon information and belief, aliens who are engaged in infringing activities and causing harm

  within this district by advertising, offering to sell, selling and/or shipping infringing products to

  consumers into this district.

          9.      Venue is proper in this Court pursuant to 28 U.S.C. § 1400(a) because Defendants

  or their agents reside or may be found in this judicial district and therefore subject to the Court’s

  personal jurisdiction.

                                               THE PLAINTIFF

          10.     L.M. is [REDACTED]. Since 2014, Plainiff has created [REDACTED] that are

  highly sought after [REDACTED].

          11.     Plaintiff’s [REDACTED] are available for purchase on [REDACTED].

          12.     Plaintiff owns the copyright described below, that is the subject of this action.

          13.     Plaintiff offers for sale and sells her products within the state of Florida, including

  this district, and throughout the United States.

          14.     Like many other intellectual property rights owners, Plaintiff suffers ongoing

  daily and sustained violations of her intellectual property rights at the hands of infringers and

  counterfeiters, such as Defendants herein.




                                                   3
                                               SRIPLAW
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Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 4 of 18




         15.     Plaintiff is harmed, the consuming public is duped and confused, and the

  Defendants earn substantial profits in connection with the infringing conduct.

         16.     In order to combat the harm caused by the combined actions of Defendants and

  others engaging in similar infringing conduct, Plaintiff expends significant resources in

  connection with her intellectual property enforcement efforts, including legal fees and

  investigative fees.

         17.     The recent explosion of infringement over the Internet has created an environment

  that requires people like Plaintiff to expend significant time and money across a wide spectrum

  of efforts in order to protect both consumers and themselves, from the ill effects of infringement

  of Plaintiff's intellectual property rights, including consumer confusion and the erosion of

  Plaintiff’s brand.

                                  PLAINTIFF’S COPYRIGHT RIGHTS

         18.     Plaintiff is known for [REDACTED].

         19.     On [REDACTED], Plaintiff registered the work with the Register of Copyrights

  as [REDACTED] (the “Copyrighted Work”) and was assigned registration number

  [REDACTED]. A true and correct copy of the Copyright Certificate of Registration and the

  Works they apply to are attached hereto as Composite Exhibit 1.

         20.     Plaintiff’s products are widely legitimately advertised and promoted by Plaintiff.

         21.     Plaintiff has never granted authorization to anyone to use, advertise, market, or

  promote unauthorized goods using Plaintiff’s Copyrighted Work.

                                               DEFENDANTS

         22.     Defendants have the capacity to be sued pursuant to Federal Rule of Civil

  Procedure 17(b).


                                                  4
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Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 5 of 18




          23.     Defendants are individuals and/or business entities of unknown makeup, each of

  whom, upon information and belief, either reside and/or operate in foreign jurisdictions,

  redistribute products from the same or similar sources in those locations, and/or ship their goods

  from the same or similar sources in those locations to shipping and fulfillment centers within the

  United States to redistribute their products from those locations.

          24.     Defendants are engaged in business in Florida but have not appointed an agent for

  service of process.

          25.     Upon information and belief, Defendants have registered, established, or

  purchased, and maintained their Seller IDs.

          26.     Defendants target their business activities toward consumers throughout the

  United States, including within this district, through the simultaneous operation of commercial

  Internet based e-commerce stores via the Internet marketplace websites under the Seller ID’s.

          27.     Defendants are the past and present controlling forces behind the sale of products

  bearing or using unauthorized reproductions or derivatives of Plaintiff’s Copyrighted Work as

  described herein operating and using at least the Seller IDs.

          28.     Defendants directly engage in unfair competition with Plaintiff by advertising,

  offering for sale, and selling goods infringing Plaintiff’s intellectual property rights to consumers

  within the United States and this district through Internet based e-commerce stores using, at

  least, the Seller IDs and additional names, websites, or seller identification aliases not yet known

  to Plaintiff.

          29.     Defendants have purposefully directed some portion of their illegal activities

  towards consumers in the state of Florida through the advertisement, offer to sell, sale, and/or

  shipment of infringing goods into the State.


                                                  5
                                              SRIPLAW
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Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 6 of 18




          30.     Upon information and belief, Defendants may have engaged in fraudulent conduct

  with respect to the registration of the Seller IDs by providing false and/or misleading information

  to the Internet based e-commerce platforms or domain registrar where they offer to sell and/or

  sell during the registration or maintenance process related to their respective Seller IDs.

          31.     Upon information and belief, many Defendants registered and maintained their

  Seller IDs for the sole purpose of engaging in illegal activities.

          32.     Upon information and belief, Defendants will likely continue to register or

  acquire new seller identification aliases for the purpose of selling and offering for sale bearing or

  using unauthorized reproductions or derivative works of one or more of Plaintiff’s copyright

  unless preliminarily and permanently enjoined.

          33.     Defendants use their Internet-based businesses to infringe the intellectual property

  rights of Plaintiff and others.

          34.     Defendants’ business names, i.e., the Seller ID’s, associated payment accounts,

  and any other alias seller identification names or e-commerce stores used in connection with the

  sale of infringements of Plaintiff’s intellectual property rights are essential components of

  Defendants’ online activities and are one of the means by which Defendants further their

  infringement scheme and cause harm to Plaintiff.

          35.     Upon information and belief, at all times relevant hereto, Defendants had actual or

  constructive knowledge of Plaintiff's copyright, including Plaintiff's exclusive right to use and

  license such copyright.

                      JOINDER OF DEFENDANTS IN THIS ACTION IS PROPER

          36.     Defendants are the individuals, partnerships, and unincorporated associations set

  forth on Schedule “A” hereto.


                                                   6
                                               SRIPLAW
                        CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ TENNESSEE ◆ NEW YORK
Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 7 of 18




          37.     Defendants are promoting, selling, offering for sale and distributing bearing or

  using unauthorized reproductions or derivative works of one or more of Plaintiff’s Copyrighted

  Work within this district.

          38.     Joinder of all Defendants is permissible based on the permissive party joinder rule

  of Fed. R. Civ. P. 20(a)(2) that permits the joinder of persons in an action as Defendants where

  any right to relief is asserted against them jointly, severally, or in the alternative with respect to

  or arising out of the same transaction, occurrence, or series of transactions or occurrences; and

  any question of law or fact common to all Defendants will arise in the action.

          39.     Joinder of the multiple Defendants listed in Schedule “A” attached hereto is

  permitted because Plaintiff asserts rights to relief against these Defendants jointly, severally, or

  in the alternative with respect to or arising out of the same transaction, occurrence, or series of

  transactions or occurrences; and common questions of law or fact will arise in the action.

          40.     Joinder of the multiple Defendants listed in Schedule “A” attached hereto serves

  the interests of convenience and judicial economy, which will lead to a just, speedy, and

  inexpensive resolution for Plaintiff, Defendants, and this Court.

          41.     Joinder of the multiple Defendants listed in Schedule “A” attached hereto will not

  create any unnecessary delay nor will it prejudice any party. On the other hand, severance is

  likely to cause delays and prejudice to Plaintiff and Defendants alike.

          42.     Joinder of the multiple Defendants listed in Schedule “A” is procedural only and

  does not affect the substantive rights of any Defendants listed on Schedule “A” hereto.

          43.     This Court has jurisdiction over the multiple Defendants listed in Schedule “A”

  hereto. Venue is proper in this Court for this dispute involving the multiple Defendants listed in

  Schedule “A” hereto.


                                                   7
                                               SRIPLAW
                        CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ TENNESSEE ◆ NEW YORK
Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 8 of 18




          44.     Plaintiff's claims against the multiple Defendants listed in Schedule “A” are all

  transactionally related.

          45.     Plaintiff is claiming infringement against Defendants of Plaintiff's copyright.

          46.     The actions of all Defendants cause indivisible harm to Plaintiff by Defendants’

  combined actions engaging in similar infringing conduct when each is compared to the others.

          47.     All Defendants’ actions are logically related. All Defendants are all engaging in

  the same systematic approach of establishing online storefronts to redistribute illegal products

  from the same or similar sources while maintaining financial accounts that the Defendants can

  easily conceal to avoid any real liability for their actions.

          48.     Upon information and belief, all Defendants are located in foreign jurisdictions,

  mostly China.

          49.     All Defendants undertake efforts to conceal their true identities from Plaintiff in

  order to avoid detection for their illegal infringing activities.

          50.     All Defendants have the same or closely related sources for their infringing

  products with some sourcing from the same upstream source and others sourcing from

  downstream sources who obtain infringing products from the same upstream sources.

          51.     All Defendants take advantage of a set of circumstances the anonymity and mass

  reach the internet affords to sell infringing or counterfeit goods across international borders and

  violate Plaintiff's intellectual property rights with impunity.

          52.     All Defendants have registered their Seller IDs with a small number of online

  platforms for the purpose of engaging in infringement.

          53.     All Defendants use payment and financial accounts associated with their online

  storefronts or the online platforms where their online storefronts reside.


                                                    8
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Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 9 of 18




         54.     All Defendants use their payment and financial accounts to accept, receive, and

  deposit profits from their infringing activities.

         55.     All Defendants can easily and quickly transfer or conceal their funds in their use

  payment and financial accounts to avoid detection and liability in the event that the Plaintiff's

  anti-pirating and anti-counterfeiting efforts are discovered, or Plaintiff obtains a monetary award.

         56.     All Defendants violated one or more of the Plaintiff's intellectual property rights

  in the United States by the use of common or identical methods.

         57.     All Defendants understand that their ability to profit through anonymous internet

  stores is enhanced as their numbers increase, even though they may not all engage in direct

  communication or coordination.

         58.     Many of the Defendants are operating multiple internet storefronts and online

  marketplace seller accounts using different Seller IDs listed on Schedule “A”. As a result, there

  are more Seller IDs than there are Defendants, a fact that will emerge in discovery.

         59.     Defendants’ business names, i.e., the Seller ID’s, associated payment accounts,

  and any other alias seller identification names or e-commerce stores used in connection with the

  sale of infringements and counterfeits of Plaintiff's intellectual property rights are essential

  components of Defendants’ online activities and are one of the means by which Defendants

  further their infringement and counterfeiting scheme and cause harm to Plaintiff.

         60.     Defendants are using infringements of Plaintiff’s intellectual property rights to

  drive Internet consumer traffic to their e-commerce stores operating under the Seller IDs, thereby

  increasing the value of the Seller IDs and decreasing the size and value of Plaintiff's legitimate

  marketplace and intellectual property rights at Plaintiff's expense.




                                                   9
                                               SRIPLAW
                        CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ TENNESSEE ◆ NEW YORK
Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 10 of 18




          61.     Defendants, through the sale and offer to sell infringing products, are directly, and

   unfairly, competing with Plaintiff's economic interests in the state of Florida and causing

   Plaintiff harm and damage within this jurisdiction.

          62.     The natural and intended by product of Defendants’ logically related actions is

   the erosion and destruction of the goodwill associated with Plaintiff's intellectual property rights

   and the destruction of the legitimate market sector in which it operates.

          63.     Upon information and belief, at all times relevant hereto, Defendants had actual or

   constructive knowledge of Plaintiff's intellectual property rights, including Plaintiff's exclusive

   right to use and license such intellectual property rights.

                                DEFENDANTS’ INFRINGING ACTIVITIES

          64.     Defendants are promoting, advertising, distributing, selling, and/or offering for

   sale infringing goods in interstate commerce bearing or using unauthorized reproductions or

   derivatives of Plaintiff’s Copyrighted Work (the “Infringing Goods”) through at least the Internet

   based e-commerce stores operating under the Seller IDs.

          65.     Defendants are using infringements of the Copyrighted Work to initially attract

   online customers and drive them to Defendants’ e-commerce stores operating under the Seller

   IDs.

          66.     Plaintiff has used the Copyrighted Work extensively and continuously before

   Defendants began offering goods bearing or using unauthorized reproduction or derivative works

   of one or more of Plaintiff’s Copyrighted Work.

          67.     Defendants, upon information and belief, are actively using, promoting and

   otherwise advertising, distributing, selling and/or offering for sale substantial quantities of their

   Infringing Goods without authority to use the Copyrighted Work.


                                                   10
                                                SRIPLAW
                         CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ TENNESSEE ◆ NEW YORK
Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 11 of 18




             68.   Defendants advertise their e-commerce stores, including their Infringing Goods

   offered for sale, to the consuming public via e-commerce stores on, at least, one Internet

   marketplace website operating under, at least, the Seller IDs.

             69.   In so advertising their stores and products, Defendants improperly and unlawfully

   use reproductions or versions of the Copyrighted Work, or derivatives thereof, without Plaintiff’s

   permission.

             70.   As part of their overall infringement scheme, most Defendants are, upon

   information and belief, concurrently employing and benefitting from substantially similar,

   advertising and marketing strategies based, in large measure, upon an illegal use the Copyrighted

   Work.

             71.   Specifically, Defendants are using infringements of the Copyrighted Work in

   order to make their e-commerce stores selling illegal goods appear more relevant and attractive

   to consumers searching for both Plaintiff's goods and goods sold by Plaintiff's competitors

   online.

             72.   By their actions, Defendants are contributing to the creation and maintenance of

   an illegal marketplace operating in parallel to the legitimate marketplace for Plaintiff's genuine

   goods.

             73.   Defendants are causing individual, concurrent and indivisible harm to Plaintiff

   and the consuming public by (i) depriving Plaintiff and other third parties of their right to fairly

   compete for space within search engine results and reducing the visibility of Plaintiff's genuine

   goods on the World Wide Web, (ii) causing an overall degradation of the value of the goodwill

   associated with Plaintiff’s business and its intellectual property assets, and (iii) increasing

   Plaintiff's overall cost to market its goods and educate consumers via the Internet.


                                                   11
                                                SRIPLAW
                         CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ TENNESSEE ◆ NEW YORK
Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 12 of 18




           74.     Defendants are concurrently conducting and targeting their infringing activities

   toward consumers and likely causing unified harm within this district and elsewhere throughout

   the United States.

           75.     As a result, Defendants are defrauding Plaintiff and the consuming public for

   Defendants’ own benefit.

           76.     Upon information and belief, at all times relevant hereto, Defendants in this action

   had full knowledge of Plaintiff's ownership of the Copyrighted Work, including her exclusive

   right to use and license such intellectual property and the goodwill associated therewith.

           77.     Defendants’ use of the Copyrighted Work, including the promotion and

   advertisement, reproduction, distribution, sale and offering for sale of their Infringing Goods, is

   without Plaintiff's consent or authorization.

           78.     Defendants are engaging in the above-described illegal infringing and

   counterfeiting activities knowingly and intentionally or with reckless disregard or willful

   blindness to Plaintiff's rights.

           79.     If Defendants’ intentional infringing and counterfeiting activities are not

   preliminarily and permanently enjoined by this Court, Plaintiff and the consuming public will

   continue to be harmed.

           80.     Defendants’ payment and financial accounts, including but not limited to those

   specifically set forth on Schedule “A”, are being used by Defendants to accept, receive, and

   deposit profits from Defendants’ infringing activities connected to their Seller IDs and any other

   alias, e-commerce stores, or seller identification names being used and/or controlled by them.

           81.     Defendants are likely to transfer or secret their assets to avoid payment of any

   monetary judgment awarded to Plaintiff.


                                                  12
                                               SRIPLAW
                          CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ TENNESSEE ◆ NEW YORK
Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 13 of 18




           82.     Plaintiff is suffering irreparable injury and has suffered substantial damages as a

   result of Defendants’ unauthorized and infringing activities and their wrongful use of Plaintiff's

   intellectual property rights.

           83.     If Defendants’ infringing, and unfairly competitive activities are not preliminarily

   and permanently enjoined by this Court, Plaintiff and the consuming public will continue to be

   harmed.

           84.     The harm and damage sustained by Plaintiff has been directly and proximately

   caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and

   sale of their Infringing Goods.

           85.     Defendants have sold their infringing products in competition directly with

   Plaintiff's genuine products.

           86.     Plaintiff should not have any competition from Defendants because Plaintiff never

   authorized Defendants to use Plaintiff's copyright.

           87.     Plaintiff has no adequate remedy at law.

                                   COUNT I – COPYRIGHT INFRINGEMENT

           88.     Plaintiff incorporates the allegations of paragraphs 1 through 87 of this Complaint

   as if fully set forth herein.

           89.     Plaintiff has complied in all respects with the Copyright Act of the United States

   and all other laws governing copyright and secured the exclusive rights and privileges in and to

   the copyright at issue in this action.

           90.     Pursuant to 17 U.S.C. § 411(a), Plaintiff registered copyright for her Work.

           91.     Defendants directly infringed Plaintiff’s exclusive rights in her copyright

   registered Work under 17 U.S.C. § 106.


                                                  13
                                               SRIPLAW
                          CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ TENNESSEE ◆ NEW YORK
Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 14 of 18




           92.    Defendants copied, displayed, and distributed Plaintiff’s Copyrighted Work

   and/or prepared derivative works based upon Plaintiff’s Copyrighted Work in violation of

   Plaintiff’s exclusive rights under 17 U.S.C. §106(1), (2) and/or (5).

           93.    Defendants’ conduct constitutes willful and direct copyright infringement of

   Plaintiff’s Copyrighted Work.

           94.    Defendants profited from the direct infringement of the exclusive rights of

   Plaintiff in the Work at issue in this case under the Copyright Act.

           95.    Defendants’ infringement is not limited to the copyright infringement listed

   above. Plaintiff will identify such additional infringement after discovery.

           96.    On information and belief, there is a business practice of infringement by

   Defendants.

           97.    On information and belief, Defendants routinely and intentionally infringe the

   intellectual property rights of others, including but not limited to, acting with willful blindness

   and/or reckless disregard.

           98.    Plaintiff has been damaged by the infringement.

           99.    The harm to Plaintiff is irreparable.

           100.   Plaintiff is entitled to temporary and permanent injunctive relief from Defendants’

   willful infringement.

           101.   Plaintiff is entitled to recover her actual damages and/or statutory damages, at her

   election.

           102.   Plaintiff is entitled to recover her reasonable costs and attorneys’ fees incurred in

   this action.




                                                   14
                                                SRIPLAW
                           CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ TENNESSEE ◆ NEW YORK
Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 15 of 18




          WHEREFORE, Plaintiff demands judgment on all Counts of this Complaint and an

   award of equitable relief and monetary relief against Defendants as follows:

          a.      Entry of temporary, preliminary, and permanent injunctions pursuant to 17 U.S.C

   § 502 and 503 and Federal Rule of Civil Procedure 65 from copying, displaying, distributing, or

   creating derivative works of Plaintiff’s registered copyright.

          b.      Entry of a Temporary Restraining Order, as well as preliminary and permanent

   injunctions pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the Court’s inherent

   authority, enjoining Defendants and all third parties with actual notice of the injunction issued by

   this Court from participating in, including providing financial services, technical services or

   other support to, Defendants in connection with the sale and distribution of non-genuine goods

   using infringements of the Copyrighted Work, that copy, display, distribute or use derivative

   works of Plaintiff’s registered copyright.

          c.      Entry of an order authorizing seizure, impoundment and/or destruction of all of

   the products used to perpetrate the infringing acts pursuant to 17 U.S.C. § 503.

          d.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the

   Court’s inherent authority that, upon Plaintiff’s request, the applicable governing Internet

   marketplace website operators and/or administrators for the Seller IDs who are provided with

   notice of an injunction issued by this Court disable and/or cease facilitating access to the Seller

   IDs and any other alias seller identification names being used and/or controlled by Defendants to

   engage in the business of marketing, offering to sell, and/or selling goods using infringements of

   the Copyrighted Work.

          e.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and this

   Court’s inherent authority that, upon Plaintiff’s request, any messaging service and Internet


                                                   15
                                                SRIPLAW
                         CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ TENNESSEE ◆ NEW YORK
Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 16 of 18




   marketplace website operators, administrators, registrar and/or top level domain (TLD) registry

   for the Seller IDs who are provided with notice of an injunction issued by this Court identify any

   e-mail address known to be associated with Defendants’ respective Seller IDs.

          f.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and this

   Court’s inherent authority that upon Plaintiff’s request, any Internet marketplace website

   operators and/or administrators who are provided with notice of an injunction issued by this

   Court permanently remove from the multiple platforms, which include, inter alia, a direct

   platform, group platform, seller product management platform, vendor product management

   platform, and brand registry platform, any and all listings and associated images of goods using

   infringements of the Copyrighted Work via the e-commerce stores operating under the Seller

   IDs, including but not limited to the listings and associated images identified by the “parent”

   and/or “child” Amazon Standard Identification Numbers (“ASIN”) on Schedule “A” annexed

   hereto, and upon Plaintiff’s request, any other listings and images of goods using infringements

   of the Copyrighted Work associated with any ASIN linked to the same sellers or linked to any

   other alias seller identification names being used and/or controlled by Defendants to promote,

   offer for sale and/or sell goods using infringements of the Copyrighted Work.

          g.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act and this

   Court’s inherent authority that, upon Plaintiff’s request, Defendants and any Internet marketplace

   website operators and/or administrators who are provided with notice of an injunction issued by

   this Court immediately cease fulfillment of and sequester all goods of each Defendant using

   infringements of the Copyrighted Work in his inventory, possession, custody, or control, and

   surrender those goods to Plaintiff.




                                                  16
                                               SRIPLAW
                        CALIFORNIA ◆ GEORGIA ◆ FLORIDA ◆ TENNESSEE ◆ NEW YORK
Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 17 of 18




          h.      Entry of an Order requiring Defendants to correct any erroneous impression the

   consuming public may have derived concerning the nature, characteristics, or qualities of their

   products, including without limitation, the placement of corrective advertising and providing

   written notice to the public.

          i.      Entry of an Order requiring Defendants to account to and pay Plaintiff for all

   profits and damages resulting from Defendants’ copyright infringement, or statutory damages (at

   Plaintiff’s election), for all infringements involved in the action, with respect to any one work,

   for which any one Defendant is liable individually, or for which Defendants are liable jointly and

   severally with another, in a sum of not less than $750 or more than $30,000 as the Court

   considers just pursuant to 17 U.S.C. §504(c)(1), or to the extent the Court finds that infringement

   was committed willfully, an award of statutory damages to a sum of not more than $150,000 per

   violation, pursuant to 17 U.S.C. §504(c)(2).

          j.      Entry of an award pursuant to 17 U.S.C. § 505 of Plaintiff’s costs and reasonable

   attorneys’ fees and investigative fees, associated with bringing this action, including the cost of

   corrective advertising.

          k.      Entry of an Order that, upon Plaintiff’s request, Defendants and any financial

   institutions, payment processors, banks, escrow services, money transmitters, or marketplace

   platforms, and their related companies and affiliates, identify and restrain all funds, up to and

   including the total amount of judgment, in all financial accounts and/or sub-accounts used in

   connection with the Seller IDs, or other alias seller identification or e-commerce store names

   used by Defendants presently or in the future, as well as any other related accounts of the same

   customer(s) and any other accounts which transfer funds into the same financial institution




                                                  17
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Case 1:25-cv-21003-KMM Document 1 Entered on FLSD Docket 03/04/2025 Page 18 of 18




   account(s) and remain restrained until such funds are surrendered to Plaintiff in partial

   satisfaction of the monetary judgment entered herein.

          l.      Entry of an award of pre-judgment interest on the judgment amount.

          m.      Entry of an Order for any further relief as the Court may deem just and proper.


          DATED: March 4, 2025                   Respectfully submitted,

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                                                  18
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